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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION


   405 ARAPAHOE, LLC                                   CIVIL ACTION NO. 19-cv-486

   VERSUS                                              JUDGE HICKS

   MONTEREY RESOURCES, LLC ET AL.                      MAG. JUDGE HORNSBY



                      CORPORATE DISCLOSURE STATEMENT

        NOW INTO COURT, through undersigned counsel, comes the plaintiff and

  seizing creditor, 405 ARAPAHOE, LLC, which files this Corporate Disclosure

  Statement pursuant to the Court’s request and Federal Rule of Civil Procedure 7.1

  and Local Rule 5.6W, and in support of this Corporate Disclosure Statement

  respectfully represents as follows:

                                            1.

        405 Arapahoe, LLC, a Delaware limited liability company, is a non-

  governmental party.

                                            2.

        Arena Investors LP, a New York limited partnership, is the sole member of 405

  Arapahoe, LLC, and is comprised of Arena Investors GP, LLC and Westaim Arena

  Holdings II, LLC.

                                            3.

        Westaim Arena Holdings II, LLC is the sole member of Arena Investors GP,

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  LLC.

                                                      4.

          The Westaim Corporation of America is the sole member of Westaim Arena

  Holdings II, LLC.

                                                      5.

          The Westaim Corporation of America is a citizen of Delaware, where it is

  incorporated, and New York, where its principle place of business is located.1



                                                   Respectfully submitted,

                                                   WIENER, WEISS & MADISON
                                                   A Professional Corporation


                                                   By:   /s/ R. Joseph Naus
                                                         R. Joseph Naus (BR #17074)
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                                                   ATTORNEYS FOR PLAINTIFF
                                                   AND SEIZING CREDITOR,
                                                   405 ARAPAHOE, LLC

  1
    “[A] corporation shall be deemed to be a citizen of any State by which it has been incorporated and of
  the State where it has its principal place of business.” 28 U.S.C. § 1332(c)(1).


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